               Case 4:10-cr-00043-HLM-WEJ Document 239 Filed 11/27/12 Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ROME DIVISION

             MARLOS CELIS-SOSA,                      :    MOTION TO VACATE
             BOP No. 62260-019,                      :    28 U.S.C. § 2255
                  Movant pro se,                     :
                                                     :    CIVIL ACTION NO.
                   v.                                :    4:12-CV-247-RLV-WEJ
                                                     :
             UNITED STATES OF AMERICA,               :    CRIMINAL ACTION NO.
                  Respondent.                        :    4:10-CR-43-4-RLV-WEJ
             ______________________________               ____________________________

             LUCIO CELIS-SOSA,                       :    MOTION TO VACATE
             BOP No. 62259-019,                      :    28 U.S.C. § 2255
                  Movant pro se,                     :
                                                     :    CIVIL ACTION NO.
                   v.                                :    4:12-CV-246-RLV-WEJ
                                                     :
             UNITED STATES OF AMERICA,               :    CRIMINAL ACTION NO.
                 Respondent.                         :    4:10-CR-43-5-RLV-WEJ


                            FINAL REPORT AND RECOMMENDATION

                   Movants pro se, Marlos and Lucio Celis-Sosa, were each represented by

             retained counsel during plea and sentencing proceedings in the criminal case listed in

             the caption. Each movant pled guilty, and neither movant appealed his conviction or

             sentence. Some eight months after having been sentenced, each movant filed a

             Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person

             in Federal Custody, complaining that he received ineffective assistance of counsel




AO 72A
(Rev.8/82)
               Case 4:10-cr-00043-HLM-WEJ Document 239 Filed 11/27/12 Page 2 of 3




             [236, 237]. Although the § 2255 motion form requires the person completing it to set

             forth “the specific facts that support your claim,” each of the movants wrote only:

             “My attorney failed to communicate the sentencing correctly, the interpreter did not

             explain the consequences of the sentencing correctly.” (Mot. [236] 4; Mot. [237] 4.)1

                   On October 22, 2012, the undersigned ordered each movant “to submit a

             detailed description of the specific facts that support his claim within TWENTY-

             ONE (21) DAYS.” (Order of Oct. 22, 2012 [238], at 1.) The undersigned specifically

             cautioned each movant that failure to comply fully might result in the dismissal of this

             case. (Id. at 2 (citing N.D. Ga. R. 41.3(A)(2).)

                   As of the date of this Report, neither movant had responded. Therefore, the

             undersigned RECOMMENDS that these cases be DISMISSED WITHOUT

             PREJUDICE because the movants have failed to comply with a lawful court order.

             See N.D. Ga. R. 41.3(A)(2).

                   The Court “must issue or deny a certificate of appealability when it enters a

             final order adverse to the applicant.” 28 U.S.C. foll. § 2255, Rule 11(a). A § 2255

             movant “cannot take an appeal unless a circuit justice or a circuit or district judge

             issues a certificate of appealability under 28 U.S.C. § 2253(c).” Fed. R. App. P.

             22(b)(1). “A certificate of appealability may issue . . . only if the applicant has made


                   1
                     The Court refers to the Motions by the PDF page numbers assigned via
             electronic docketing; rather, than those documents’ internal page numbering.

                                                        2



AO 72A
(Rev.8/82)
               Case 4:10-cr-00043-HLM-WEJ Document 239 Filed 11/27/12 Page 3 of 3




             a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).

             To make a substantial showing of the denial of a constitutional right, a § 2255 movant

             must demonstrate “that reasonable jurists could debate whether (or, for that matter,

             agree that) the petition should have been resolved in a different manner or that the

             issues presented were adequate to deserve encouragement to proceed further.” Miller-

             El v. Cockrell, 537 U.S. 322, 336 (2003) (citations and quotation marks omitted).

             Neither movant has demonstrated that he has been denied a constitutional right or that

             the issue is reasonably debatable.

                   The undersigned further RECOMMENDS that Certificates of Appealability

             be DENIED in these cases.

                   The Clerk is DIRECTED to terminate the referral of this case to the

             undersigned.

                   SO RECOMMENDED, this 27th day of November, 2012.




                                              WALTER E. JOHNSON
                                              UNITED STATES MAGISTRATE JUDGE




                                                       3



AO 72A
(Rev.8/82)
